 

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

 

Caption in Compliance with D.N.J. LBR9004-1(b)

Sadek & Cooper Law Offices
1345 Walnut Street

Suite 502

Phiidelphia, PA 19107
215-545-0008

Attorney for Debtors -

 

 

 

In Re: Case No.: 17-28350

John T. Marcelius, Jr. a 4

Jessica L. Marceflus Chapter: 3
Judge: ~ ABA

 

 

 

 

CERTIFICATION OF DEBTOR'S COUNSEL
SUPPORTING SUPPLEMENTAL CHAPTER 13 FEE

Under D.N.J. LBR 2016-5 this supplemental fee application may
contain requests for compensation of $2,000 or less. Requests for
compensation over $2,000 must be filed under D.N.J. LBR 2016-1.

 

 

 

 

Brad J. Sadek, Esquire, Esquire, certifies as follows:

1. I represented the debtor in connection with the following proceeding(s) in debtor's chapter 13 case:

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STANDARD FEES

C] Prosecution of motion on behalf of debtor. ' $500.00

Nature of motion:

 

 

Hearing date(s):

 

 

[] . Defense of motion on behalf of debtor (Including filing Objection to Creditor’s or Trustee's $400.00
Certification of Default). ;

Nature of motion:

 

 

 

 

 

 

 

 

Hearing date(s):
E] Additional court appearance(s). (Not to exceed three). 7 . . $100.00
‘Parpose: |
Hearing date(s):
Cl Filing and appearance on a modified Chapter 13 plan. $300.00
Tj | Preparation of Wage Order. - . | $100.00
L] Preparation and filing of Amendments to Schedules D, E, F, G, H or List of Creditors. . $100.60
L] Preparation and filing of other amended schedules | OO $100.00
| Eo] Preparation and filing of Application for Retention of Professional _ | . | $200.00
] Preparation and filing of Notice of Sale ot Settlement of Controversy . $100.00

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NON-STANDARD FEES |

 

 

Do not combine standard and non-standard fees for the same motion or service. If you believe the standard fee is
inappropriate for services in 2 particular instance, you must request only non-standard fees for that particular
service. Gs

 

 

 

Describe non-standard services in detail, and attach a time detail (including applicable hourly rates) as

Exhibit A:

See Attached Billing Breakdown

2, To date, in this case:
Ihave applied for fees (including original retainer) in the amount of: . $ 3,500.00
To date, I have received: $ 3,500.00

3. I seek compensation for services rendered in the amount of $91 ,000.00 (fora total of $4,500.00) payable:
hi through the Chapter 13 plan as an administrative priority.
outside the plan.

This allowance will not impact on plan payments.

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This allowance will impact on plan payments.
Present plan: $ 552.00 per month for 49 months.

Proposed plan: $.588.00_ per month for 47 months.

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5, Pursuant to D.N.J. LBR 2016-5(b)\(3), I have not filed a supplemental fee application within the preceding 120 days.
i certify under penalty of perjury that the above is true.

Dated: October 10, 2018 . is! Brad J. Sadek, Esquire
Brad J. Sadek, Esquire
’ Signature

 

 

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